         Case 18-15136-amc
 Fill in this information to identify the case:
                                                   Doc          Filed 04/11/24 Entered 04/11/24 13:08:19                         Desc Main
                                                                Document      Page 1 of 3
B 10 (Supplement 2) (12/11)             (post publication draft)
 Debtor 1               Christine Bentick aka Christine Negel
                       __________________________________________________________________

 Debtor 2               ________________________________________________________________
 (Spouse, if filing)

                                         Eastern                            Pennsylvania
 United States Bankruptcy Court for the: ______________________ District of __________
                                                                                          (State)
 Case number
                        18-15136-MDC
                        ___________________________________________




Official Form 410S2
Notice of Postpetition Mortgage Fees, Expenses, and Charges                                                                                      12/16

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor's principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the bankruptcy
filing that you assert are recoverable against the debtor or against the debtor's principal residence.
File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.
                               UMB Bank, National Association, not in its individual capacity,
                               but solely as legal title trustee for LVS Title Trust XIII
 Name of creditor: _______________________________________                                                                        2
                                                                                                      Court claim no. (if known): __________________

 Last 4 digits of any number you use to                           
                                                                                 
 identify the debtor’s account:                                 ____  ____ ____       ____

 Does this notice supplement a prior notice of postpetition fees,
 expenses, and charges?
  No
                                 06 29 2023
  Yes. Date of the last notice: ____/____/_____

 Part 1:         Itemize Postpetition Fees, Expenses, and Charges

 Itemize the fees, expenses, and charges incurred on the debtor’s mortgage account after the petition was filed. Do not include any
 escrow account disbursements or any amounts previously itemized in a notice filed in this case. If the court has previously
 approved an amount, indicate that approval in parentheses after the date the amount was incurred.

      Description                                                                    Dates incurred                                    Amount

  1. Late charges                                                                    _________________________________           (1)   $ __________
  2. Non-sufficient funds (NSF) fees                                                 _________________________________           (2)   $ __________
  3. Attorney fees                                                                   _________________________________           (3)   $ __________
  4. Filing fees and court costs                                                     _________________________________           (4)   $ __________
  5. Bankruptcy/Proof of claim fees                                                  _________________________________           (5)   $ __________
  6. Appraisal/Broker’s price opinion fees                                           _________________________________           (6)   $ __________
  7. Property inspection fees                                                        _________________________________           (7)   $ __________
  8. Tax advances (non-escrow)                                                       _________________________________           (8)   $ __________
  9. Insurance advances (non-escrow)                                                 _________________________________           (9)   $ __________
 10. Property preservation expenses. Specify:_______________                         _________________________________          (10)   $ __________
                    Plan Review
 11. Other. Specify:____________________________________                             11/06/2023
                                                                                     _________________________________          (11)     425.00
                                                                                                                                       $ __________
 12. Other. Specify:____________________________________                             _________________________________          (12)   $ __________
 13. Other. Specify:____________________________________                             _________________________________          (13)   $ __________
 14. Other. Specify:____________________________________                             _________________________________          (14)   $ __________


 The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid.
 See 11 U.S.C. § 1322(b)(5) and Bankruptcy Rule 3002.1.


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Debtor 1
                 Christine Bentick aka Christine Negel
             _______________________________________________________
                                                                                                                  18-15136-MDC
                                                                                            Case number (if known) _____________________________________
             First Name        Middle Name               Last Name




 Part 2:     Sign Here


  The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
  telephone number.
  Check the appropriate box.

   I am the creditor.
   I am the creditor’s authorized agent.

  I declare under penalty of perjury that the information provided in this claim is true and correct to the best
  of my knowledge, information, and reasonable belief.



             8__________________________________________________
              /s/ Danielle Boyle-Ebersole, Esquire
                  Signature
                                                                                            Date    ____/_____/________




 Print:           Danielle Boyle-Ebersole
                  _________________________________________________________                 Title
                                                                                                    Attorney
                                                                                                    ___________________________
                  First Name                      Middle Name        Last Name



 Company
                  Hladik, Onorato & Federman, LLP
                  _________________________________________________________



 Address
                  298 Wissahickon Avenue
                  _________________________________________________________
                  Number                 Street
                  North Wales                     PA          19454
                  ___________________________________________________
                  City                                               State       ZIP Code



                   215         855 9521                                                             dboyle-ebersole@hoflawgroup.com
 Contact phone    (______) _____– _________                                                 Email ________________________




Official Form 410S2                                 Notice of Postpetition Mortgage Fees, Expenses, and Charges                                page 2
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                IN THE UNITED STATES BANKRUPTCY COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA

In Re:                                               : Bankruptcy No. 18-15136-MDC
Christine Bentick aka Christine Negel                : Chapter 13
                      Debtor                         :
                                                     :
UMB Bank, National Association, not in its           :
individual capacity, but solely as legal title       :
trustee for LVS Title Trust XIII                     :
                                                     :
                       Movant                        :
                                                     :
               vs.                                   :
                                                     :
Christine Bentick aka Christine Negel                :
                      Debtor/Respondent              :
                                                     :
               and                                   :
                                                     :
Kenneth E. West, Esquire                             :
                    Trustee/Respondent               :

                                   CERTIFICATE OF SERVICE

    I, Danielle Boyle-Ebersole, Esquire, hereby certify that on 04/11/2024, I have served a
copy of this Notice and all attachments to the following by U.S. Mail, postage pre paid and/or
via filing with the US Bankruptcy Court’s CM ECF system.

Michael A. Cibik, Esquire                        Christine Bentick
Via Electronic Filing                            aka Christine Negel
Attorney for Debtor                              1711 Francis Street
                                                 Philadelphia, PA 19130
Kenneth E. West, Esquire                         Via First Class Mail
Via Electronic Filing                            Debtor
Trustee

                                                     /s/Danielle Boyle-Ebersole
                                                     Danielle Boyle-Ebersole, Esquire
                                                     Attorney I.D. # 81747
                                                     Hladik, Onorato & Federman, LLP
                                                     298 Wissahickon Avenue
                                                     North Wales, PA 19454
                                                     Phone 215-855-9521/Fax 215-855-9121
                                                     dboyle-ebersole@hoflawgroup.com
